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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA INDIANAPOLIS
                                 DIVISION


 In Re: COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                         Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                          MDL No. 2570


                   CASE CATEGORIZATION SUBMISSION Instructions


 Pursuant to the Court’s Order regarding case categorization (Doc. 9322), each plaintiff is required

 to certify the respective outcomes, complications, and injuries claimed by submitting specific

 medical records evidencing the claimed complication, outcomes, and injuries into one of seven

 categories outlined by the Court in its Order (“Categorization Process”).          The following

 requirements apply to the Categorization Process:

        1. Each plaintiff must submit the attached Categorization Form by December 22, 2018.
           Forms shall be served on Cook at CookFilterMDL@FaegreBD.com, per CMO-6, and
           on Plaintiffs’ Leadership at plaintiffscoleadcounselmdl@gmail.com. Any plaintiff that
           fails to submit this Form by the deadline may be subject to dismissal upon motion by a
           party and at the discretion of the Court.

        2. Each plaintiff may select more than one of the seven categories outlined in the
           Categorization Form, with the understanding that only the “highest” alleged category
           will be considered for purposes of the census ordered by the Court and that each
           category alleged requires a specific medical record. Once the appropriate category is
           marked, the claimed outcome/complication/injury must be briefly described. For
           example, the description can be “asymptomatic perforation,” “failed retrieval attempt,”
           “fractured filter with retained fragment,” “emotional distress claim,” etc.

        3. The category selected must be supported by attaching specific medical record(s)
           confirming the injury/complication/category selected, with the relevant line or portion
           highlighted. Submission of an entire medical file, or references to previously produced
           records are also not permitted and shall be treated as a non-compliance with the Court’s
           Order.

        4. This Case Category Submission is for the purpose of complying with the Court’s Order
           on the Cook Defendant’s Motion for Screening Order and Bellwether Selection Plan
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          only and is not admissible and is not to be considered relevant for any other purpose.
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                                             Categorization Form



 A.      Plaintiff’s Name:                     __________________________________________

 B.      Plaintiff’s Case Number:              __________________________________________

 C.      Plaintiff’s Counsel (Lead Firm Name): _________________________________________

 D.      Categorization (check each that applies and briefly describe):

      1. Successful First Removal Without Complication or Physical Injury Cases: “Cases where
         Plaintiffs’ profile sheet and further follow-up shows that the Gunter Tulip or Celect IVC
         filter was successfully removed on the first, routine, percutaneous retrieval attempt and no
         physical symptom or filter complication was alleged during the time the filter was in place
         or in connection with the retrieval process.”

         Check here for Category 1:____

      2. Cases Alleging Mental Distress and Embedment: “Cases where only non-physical injuries,
         such as worry, stress, or fear of future injury, have been alleged.”

         Check here for Category 2:____

         Briefly describe claimed complication/outcome/injury:____________________________

      3. Stenosis of the IVC and Anticoagulation Cases: “(a) Cases where the plaintiff has alleged
         scarring or stenosis of the IVC caused by the Cook filter; and (b) Cases where the plaintiff
         has alleged a need for [anti]coagulation on a permanent or long term basis because of an
         unretrieved or irretrievable filter.”

         Check here for Category 3:____

         Briefly describe claimed complication/outcome/injury:____________________________

      4. Embedded and High Risk Cases: “Cases where the Plaintiff has been advised that the Cook
         IVC filter is embedded, cannot be retrieved, or that the risk of retrieval outweighs the
         benefits of retrieval.”

         Check here for Category 4:____

         Briefly describe claimed complication/outcome/injury:____________________________
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        5. Failed Retrieval and Complicated Retrieval Cases 1: “(a) Cases where the plaintiff has
           undergone one or more failed retrieval procedures; and (b) Cases where Plaintiff’s Filter
           was retrieved but required the use of a non-routine, complicated retrieval method.”

            Check here for Category 5:____

            Briefly describe claimed complication/outcome/injury:____________________________

        6. Non-Symptomatic Injury Cases: “Cases where the Plaintiff alleges non-symptomatic filter
           movement, migration, penetration, perforation, thrombosis, occlusion, or the presence of a
           clot in the filter that has not produced physical symptoms or complications.”

            Check here for Category 6:____

            Briefly describe claimed complication/outcome/injury:____________________________

        7. Symptomatic Injury Cases: “Cases where the Plaintiff alleges medical symptoms,
           conditions, or complications caused by one or more of the following conditions”

            Check here for Category 7:____. Circle all sub-categories that apply below:

            (a) IVC thrombotic occlusion – consisting of an occluding thrombus in the IVC after filter
                insertion (documented by imaging or autopsy);

            Briefly describe claim of symptomatic injury:
            _______________________________________________________________________

            (b) filter embolization – consisting of post-deployment movement of the filter to a distant
                anatomic site;

            Briefly describe claim of symptomatic injury:
            _______________________________________________________________________

            (c) filter fracture – consisting of any loss of a filter’s structural integrity documented by
                imaging or autopsy;

            Briefly describe claim of symptomatic injury:
            _______________________________________________________________________

            (d) filter migration – consisting of a change in filter position of more than 2 cm (when
                compared to its deployed position) and as documented by imaging; Briefly describe
                claim of symptomatic injury:

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     Plaintiffs that have undergone open removal surgery shall categorize as Category No. 7.
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      (e) penetration or perforation – consisting of a filter strut or anchor extending 3 or more
          mm outside the wall of the IVC as demonstrated on imaging;

      Briefly describe claim of symptomatic injury:____________________________________

      (f) recurrent pulmonary embolism (PE) – consisting of PE that occurs after filter placement
          is documented by pulmonary arteriography, cross sectional imaging, lung scan, or
          autopsy;

      Briefly describe claim of symptomatic injury:____________________________________

      (g) DVT or other blood clot caused by filter;

      Briefly describe claim of symptomatic injury:____________________________________

      (h) infection;

      Briefly describe claim of symptomatic injury:____________________________________

      (i) bleeding;

      Briefly describe claim of symptomatic injury:____________________________________

      (j) death; and

      Briefly describe claim of symptomatic injury:__________________________________

      (k) open-removal and/or open heart surgery- any case where a plaintiff has had an open
          surgical procedure, including open heart surgery, to remove his or her IVC filter.

      Briefly describe claim of symptomatic injury:__________________________________

 E.    Certification: The undersigned counsel affirms that the categorization is based on a review

       of the available medical records including imaging records and reports. The submission of

       the specific medical record(s) attached, and submission of this form, are counsel’s

       certification that the outcome, complication, or injury represented in Section D is the proper

       categorization for Plaintiff’s case to the best of counsel’s knowledge and belief.

       Plaintiff’s Counsel Name:              __________________________________

       Plaintiff’s Counsel’s Firm:            __________________________________
      : Plaintiff’s Counsel’s Signature:
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